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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IVAN BELAUSTEGUI,

                          Plaintiff,
                                                                ORDER
            - against -
                                                          19 Civ. 11727 (PGG)
AMERICAN CITY BUSINESS
JOURNALS, INC.

                          Defendant.


PAUL G. GARDEPHE, U.S.D.J.:

              It is hereby ORDERED that the telephone conference currently scheduled for

October 22, 2020 at 11:30 a.m. will now take place on October 22, 2020 at 9:30 a.m.

Dated: New York, New York
       October 20, 2020
